




NO. 07-05-0379-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



NOVEMBER 3, 2005



______________________________





JAMAAL DONTE MAYES, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE





_________________________________



FROM THE 251ST DISTRICT COURT OF POTTER COUNTY;



NO. 50,573-C; HONORABLE PATRICK A. PIRTLE, JUDGE



_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

ABATEMENT AND REMAND

Appellant Jamaal Donte Mayes filed a timely 
pro se
 “motion of notice of appeal” challenging the trial court’s order revoking community supervision and sentencing him to two years confinement in a state jail facility and a $2,000 fine. &nbsp;This Court notified appellant by letter dated October 24, 2005, that a docketing statement had not yet been filed. &nbsp;Appellant responded by letter and returned the blank docketing statement explaining he did not understand how to complete it and inquiring whether counsel had been appointed to represent him in this appeal.
(footnote: 1) &nbsp;Appellant also requested appointment of counsel to represent him in this appeal. &nbsp;In the interest of judicial efficiency, we abate this appeal and remand the cause to the trial court to conduct a hearing and determine whether appellant is indigent and entitled to appointed counsel to represent him in this appeal.

Should the trial court determine that appellant is indigent and wants to pursue this appeal, then it shall appoint counsel. &nbsp;If counsel is appointed, the name, address, telephone number, and state bar number of said counsel shall be included in the order appointing counsel. &nbsp;Finally, the trial court shall execute findings of fact, conclusions of law, and any orders it may enter regarding the aforementioned issues and cause them to be included in a supplemental clerk’s record. &nbsp;The supplemental clerk’s record shall be filed with the clerk of this Court on or before Friday, November 18, 2005.

It is so ordered.

Per Curiam

Do not publish. 

FOOTNOTES
1:Appointed counsel filed a notice of appeal in companion case bearing appellate cause number 07-05-0383-CR, trial court number 50,884-C, which was dismissed because that trial resulted in a not guilty verdict.




